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             EXHIBIT B
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 IN RE ACTOS ANTITRUST LITIGATION
                                                        Master File No. 1:13-cv-09244-RA-SDA
 THIS DOCUMENT RELATES TO :

 ALL ACTIONS


             [PROPOSED]DRAFT] STIPULATED PRIVILEGE LOG ORDER

       This Protocol shall governThe parties to the above referenced actions, through their

respective counsel of record, hereby stipulate to the following, subject to approval by the Court,

regarding the logging of purportedly privileged documents, electronically stored information

(ESI), and other materials in these actions and all other matters subsequently consolidated with

these actions.

1.     General Principles.

       A.        A party may withhold from production information or documents on the grounds
                 of attorney-client privilege or work product protection.

       B.        The party asserting a privilege for material shall provide privilege log(s) explicitly
                 identifying the privilege asserted for the material and containing information
                 sufficient to enable the opposing party to assess the applicability of the privilege as
                 provided for in Fed. R. Civ. P. 26(b)(5), including but not limited to the nature of
                 the documents, communications, information, or tangible things not produced and
                 disclosed.

2.     General Procedures and Protocols.

       A.        Except as otherwise agreed in the operative case schedule, any privilege logs
                 provided in lieu of producing requested documents shall be provided no more than
                 21 days after the date upon which the document group from which the withheld
                 documents were withheld was produced, unless such document group is produced
                 on or after AugustJune 1, 2022, in which case corresponding privilege logs shall be
                 produced concurrently with the production of documents.

       B.        No party shall be required to list on a privilege log privileged or work-product
                 documents prepared for the prosecution or defense of these actions or constituting
                 or disclosing communications within clients or between clients and their counsel
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            related to these actions. However, this provision does not affect any duty under
            applicable law to preserve such materials.

      C.    To the extent that a response to discovery requires a party to provide a production
            set from a prior litigation or government investigation, the privilege logs from those
            proceedings/litigations will be sufficient to inform the requesting party of the
            documents that were withheld or redacted. The privilege logs from those
            proceedings/litigations will be produced in native Excel file format, if available.
            The producing party does not need to re-log these documents on another privilege
            log. For the avoidance of doubt, nothing in this paragraph is intended to prevent the
            requesting party from challenging logs or documents reflected in logs from prior
            proceedings/litigations.

3.    Log Format and Contents.

      A.    Privilege logs shall be produced as a native Excel spreadsheet.

      B.    Each subsequent log shall contain the entirety of the prior privilege log and new
            entries shall begin with the next document entry number following the prior served
            log. Each subsequent log shall identify in its title the date the subsequent log is
            produced to the receiving party. When an entry is subsequently removed from a
            log, the entry shall remain on subsequent logs with a notation “Produced Entirely”
            or “Produced Redacted” in a field named “Document Status.”

      C.    For each document withheld or redacted based on a claim of privilege or work
            product, the entry for each document shall list the following information available
            for the document, (to the extent such information is not itself protected from
            disclosure. The; the withholding party shall be entitled to use existing metadata to
            populate such fields if available; however, documents that lack associated metadata
            (e.g., scanned paper documents) must nonetheless have the following information
            logged if withheld or redacted.):

            i.     a unique privilege log “control number” in a “Log Index Number” field;

            ii.    the beginning Bates number of the slipsheet representing the document,
                   when applicable in a “Beg. Bates” field;

            iii.   the nature of the privilege asserted, (e.g., “attorney-client privilege” or
                   “work product,””) in a “Priv. Asserted” field (the withholding party may
                   use codes to identify the nature of the privilege asserted, so long as the
                   party provides a legend that enables other parties to understand the
                   codes);;

            iv.    name(s) of the author(s) of the document in an “Author” field;

            v.     name(s) of the sender and recipient(s)—and, in the case of emails, each
                   person shown in the “From,” “To,” “CC,” and “BCC” fields, including the
                   email address of each individual in all of these fields, with each field being
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                           separately delineated “From,” “To,” “CC,” and “BCC”;1 and including a
                           carrot indication (“^”) following the name or email address of any attorney
                           so listed;

                  vi.      if known or discernable from the document or metadata, the date and time
                           the document was (1) created, (2) sent (if applicable), and (3) last
                           modified (if applicable) in “DateTime Created,” “DateTime Sent” and
                           “DateTime Last Modified,” respectively;

                  vii.     if known or discernable from the document or metadata, the custodial file
                           in which the document was located in a “All Custodians” field;

                  viii.    the subject of the document—

                           (1)      for emails, the “RE” line in a “Email Subject” field,

                           (2)      for non-email documents, the file name or title in a “File Name”
                                    field;

                  ix.      the document type by file extension in a “File Extension” field;

                  x.       all custodian(s) of the document in a “Custodian” field;

                  xi.      family relationship (e.g., parent, attachment, or standalone);

                  xii.     indication of whether the document has been redacted or withheld in a
                           “Redacted/Withheld” field;

                  xiii.    in a field labelled “Description,” (1) a written description of the nature and
                           purpose of the communication sufficient for the receiving party to assess
                           the assertion of privilege, work product, or other protection, or (2) a code
                           corresponding to a category that identifies the same (so long as the
                           withholding party also produces a legend enabling the receiving party to
                           associate specific codes with specific categories); and2a description of the
                           nature and purpose of the communication including, at a minimum—



1
  If no attorney is identified as having sent, authored, or received the logged document, the producing party shall
separately identify in some other manner in the description of the document the source of the advice, counsel, or
involvement that supports the assertion of privilege. If known or ascertainable, individual names shall be logged to
identify the counsel who provided legal advice or was asked to provide legal advice rather than logging only the
name of a law firm or in-house legal department.
2
  Examples of suitable descriptions include, e.g., “communication seeking legal advice from [name of lawyer] re:
contract concerning API with Actos API provider”; “communication providing legal advice about and attaching
draft distribution and supply contract for Actos with U.S. wholesaler”; “communication regarding legal advice
provided by counsel regarding Takeda’s patent(s)..”
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                   (1)     the specific subject matter of the document, and

                   (2)     the legal basis for withholding the document

            xiv.   with respect to partially privileged documents produced in redacted form,
                   a party must also include the Bates number.

      D.    With respect to attachments withheld or redacted on privilege grounds, a party must
            provide separate log entries for each, to appear in sequential order immediately
            following the log entry for the parent document (if the parent document is withheld
            in whole or in part as privileged), and contain all information called for in Section
            3.C for each attachment.

      E.    The privilege log shall contain entries for all lesser-included emails that a party has
            withheld or redacted. These entries shall immediately follow the entry for the
            associated most-inclusive email and contain the information called for in Section
            3.C.call for in Section 3.C. Notwithstanding the foregoing, a party may provide a
            single log entry for an entire email “thread” i.e., for multiple emails which appear
            within the text of a single email document—only “when asserting privilege on the
            same basis with respect to multiple documents,” S.D.N.Y. Local Rule 26.2(c), and
            provided that the party also identifies the thread group identifier, and number of
            emails and pages contained in the thread that is logged as a single entry. When
            logging email threads in a single entry, a party must provide sufficient information
            about the email thread to “enable other parties to assess the claim” of privilege.
            Fed. R. Civ. P. 26(b)(5)(ii). Should a party require additional information about an
            email thread to evaluate the claim of privilege, the party may make a reasonable
            request for information and the parties will meet and confer in good faith.

      F.    Compliance with paragraphs 3.C, 3.D, and 3.E shall satisfy a Party’s obligation to
            log email threads. However, a Party may not claim an entire email thread to be
            privileged when it believes only some portion to be entitled to the privilege. All
            such partially privileged email threads must be redacted, the basis for the assertion
            of privilege identified, and the rest of the email thread produced.

      G.    Each privilege log shall be accompanied by a list of all attorneys identified in the
            log to support a claim of privilege, along with information for each attorney
            sufficient to determine—

            i.     the employer (law firm or other organization) with whom they are
                   affiliated;

            ii.    the manner in which they are identified in the log, e.g., by email address;

            iii.   the country in which they are barred or licensed, and, for attorneys barred
                   or licensed in Japan, whether they are a bengoshi or a benrishi.

4.    Resolution of Disputes
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      A.    Should a party be unable to ascertain whether or not a document contained on the
            log is privileged or have reason to believe a particular entry on the log does not
            reflect privileged information, the party may request a meet and confer, and the
            parties must meet and confer about such deficiencies within 10 days.

      B.    Following any such meet and confer between the parties, the producing party shall
            use best efforts to produce additional information sought by the requesting party,
            within 14 days.

5.    Disclosed Privileged Information.

      A.    Federal Rule of Evidence 502 shall apply in all respects.

      B.    Any party receiving materials that clearly appear to be privileged shall not copy,
            distribute, or otherwise use such materials in any manner and shall provide prompt
            notice to the producing party to afford an opportunity to confirm whether privileged
            information has been disclosed.

      C.    If a disclosing party notifies the receiving party that privileged information has been
            disclosed, the receiving party shall comply with Fed. R. Civ. P. 26(b)(5)(B) and
            confirm that the receiving party has complied with its requirements.

      D.    As soon as is reasonably feasible, and in any event no later than 7 days after the
            producing party’s notification to the receiving party that privileged information has
            been disclosed, the producing party must provide a complete privilege log entry for
            each such document in accordance with the terms of Section 3, supra. However, if
            the producing party’s notification is sent within 48 hours of a scheduled deposition,
            the privilege log must be sent contemporaneously with the notice.

      E.    To contest any claim of privilege with respect to disclosed privileged information,
            the receiving party shall raise the issue with the producing party in writing with
            sufficient detail so that the producing party may understand the receiving party’s
            complaint. The producing party shall respond in writing within 7 days, and if the
            response does not satisfy the receiving party, then the parties shall meet and confer.
            If the dispute as to the privileged or non-privileged nature of the materials cannot
            be resolved, then the receiving party may seek relief from the Court pursuant to the
            Court’s practices. In the event of a motion compelling production of the contested
            material:

            i.     The producing party shall retain the burden of establishing its privilege or
                   work product claims.

            ii.    The motion shall be filed or lodged conditionally under seal; any disclosed
                   privileged information attached to or disclosed in the motion shall be
                   deemed submitted solely for the Court’s in camera review.

6.    Harmonization with Other Orders and Agreements
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       A.       Unless expressly provided otherwise, nothing in this stipulation is intended to
                amend the parties’ prior agreements and Court Orders regarding discovery,
                including the operative ESI Protocol and Protective Order in these actions.


       SO STIPULATED AND AGREED.

Agreed to:


Dated: __, 2022

             /s/ [●]                                   /s/ [●]

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SO ORDERED.



Dated: _________, 2022
New York, New York                      Hon. Stewart D. Aaron
                                        United States Magistrate Judge
